                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                                   NO: 5:05CR9

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
                                          )
vs.                                       )                              ORDER
                                          )
ANTHONY MICHAEL BROWN,                    )
            Defendant.                    )
                                          )
_________________________________________ )

       THIS MATTER IS BEFORE THE COURT upon the receipt of a letter from Anthony

Michael Brown, dated August 29, 2005 (the “Letter”).1 In the Letter, Mr. Brown seeks to withdraw

his plea agreement.

       The record reflects that Mr. Brown is represented by appointed counsel, R. Locke Bell. It

is the practice of this Court, when a defendant is represented by counsel, to rule on motions filed

only by counsel of record. Therefore, if Mr. Brown has any matters he wishes this Court to consider,

they must be submitted through his attorney. The Court notes Mr. Brown’s contentions that Mr. Bell

failed to inform him of certain things. As such, the Court will schedule an inquiry into the status of

counsel.

       IT IS, THEREFORE, ORDERED that Mr. Brown’s request is DENIED without prejudice

to Mr. Brown’s right to re-file the motions, if appropriate, through his attorney.

       The Clerk of Court is directed to send a copy of the Letter to Mr. Bell along with his copy

of this Order.




       1
           The Letter was received by the Court on September 1, 2005.


    Case 5:05-cr-00009-KDB-DCK             Document 326         Filed 09/09/05       Page 1 of 2
                       Signed: September 6, 2005




Case 5:05-cr-00009-KDB-DCK   Document 326     Filed 09/09/05   Page 2 of 2
